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AMENDED COMPLAINT WITH JURY DEMAND

 

I. Introduction

This is a civil rights action filed by Jeffrey Paul Barnard,
a federal presentence inmate, being held at Somerset County Jail,
without bail on instant charge of 18 U.S.C. § 922(g)(1). From this
point forward, Mr. Barnard, will be known as plaintiff. Plaintiff,
seeks redress from this Honorable Court, for damages and injunct-
ive relief under 42 U.S.C. § 1983, with jurisdiction under 28 U.S.C.
§ 1342, in accordance with Rule 65 Fed.R.Civ.P., alleging the use
of deadly and excessive force, in violation of the Fourth Amendment,
denial of proper medical care in violation of the Eighth Amendment,
to the United States Constitution and confinement in AD-SEG (Admin-
istrative Segregation) in violation of Due Process Clause of the...
Fourteenth Amendment, to the U.S. Constitution. This plaintiff, also
alleges Federal and State Torts of assault andbattery and negligence.

II. Jurisdiction

1. The Court has jurisdiction over plaintiff's claims of vio-
lation of Federal Constitutional Rights under 28 U.S.C. §§ 1331(1),
and 1343, pursuant to 42 U.S.C. § 1985, and...

2. The Court has supplemental jurisdiction over plaintiff's
State law Tort claims under 28 U.S.C. § 1367.

III. Parties

3. The plaintiff, Jeffrey Paul Barnard, was harassed, threat-
ened with deadly and lethal force, he was then shot in the Head/
Face as a result of this threat by a Maine State Trooper.

4. Defendants, Janett Mills, Robert Williams, Scott Duff...

Harold Page, Barton Tokas, Troy Bires, Deputy Campbell,& Frost...

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4, Cont... Rob Angelo, John Doe #1, John Doe #2, John Doe #3.
They are all being sued in their individual capacities.

5. All individual defendants above in (4.) are employed and
work for the following entities... State of Maine, Maine State Pol-
ice, City of Ellsworth, Ellsworth Police Department, Hancock County
Seriff Department, City of Bangor, and Bangor Police Department.

All these defendants are being sued in their official capacities.

6. Plaintiff, at this time, humbly seeks this Honorable Courts
permission in advance, to allow him to amend this complaint as nec-
essary with other individual defendants, whom were also named in the
State Torts, that were submitted with filing of plaintiff's original
complaint in this matter, as well as, John Does 1,283... and their
real names. Or to any other individual defendants that are employed
by above entities in (5.), as this case investigation progresses...
and unfolds, as to protect plaintiff's rights and interest, as well
as, to promote fair and true justice for all parties of concern.

7. Defendants... Dale Lancaster, Corey Swope, Sean Maguire, Dawn
Pullin, Charles Haley, Mike Rizzo, Gerald Madore, Terry Thurlow, Lisa
Cates, and Dave Needham. They are all being sued in their individual
capacities.

8. All individual defendants above in (7.) are employed by the
following entities... Somerset County Sheriff Department, Somerset
County Jail, and MED-PRO & Associates, who has been contracted and
hired by Somerset County Sheriff Department, as medical provider for
Somerset County Jail facility. They are all sued in their official
capacities.

9. Plaintiff, once again humbly seeks this Honorable Courts per-

mission in advance, to amend this complaint, as to any individual...

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9. Cont... defendants named on State Tort, as to (7. &8.) above,
as this case investigation progresses and unfolds, as to protect this
plaintiff's rights and interest, and to promote an interest in justice
as well. ( "Please see enclosed copy of State Tort in reference to the
above (7. &8.) entities and individual defendants".)

10. All above [above] defendants have acted, and continue to act,
under color of state law at all times relevant to this complaint.

IV. Facts

11. On or about May 16&18, 2014... The Ellsworth Police Depart-
ment, was called out to the property located at 303 North Street, in
Ellsworth, Maine. These officer's were responding to a civil dispute
between the owner of above property, this plaintiff and his wife.

12. Plaintiff and his wife had been living on this gentleman's
property for just over two years, and had a verbal/handshake-contract
and agreement with this gentleman to stay on his property in our...
thirty (30) foot Travel Trailer. This was a long term and extensive
agreement, in that the plaintiff was the care-taker of the property,
and this agreement involved the use of a Kubota Tractor, and the use
of a shop on the property, as well as, the installation of a septic
tank, for plaintiff's travel trailer.

13. Officer Barton Tokas, was one of the officer's that respond-
ed to this ongoing civil dispute on or about May 16&18, 2014... At
that time officer Tokas, informed the owner of the property, as well
as, this plaintiff and his wife, that our dealings and issues were a
civil matter, as such, officer Tokas instructed and informed each of[the
parties to file a civil complaint with the District Court.

14. On or about May 31, 2014... The Ellsworth police were again

called to 303 North Street, in reference to this ongoing Civil Issue...

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14. Cont... The first officer on the scene that day was Officer
Troy Bires. This officer was dispatched to an ongoing civil dispute
by 911 operator according to the dispatch log.

15. Officer Bires arrived at the property around 8:25am, then
Officer Tokas arrived at the scene about 8:35am ten minutes or so,
later on May 31, 2014. Officer Bires and this plaintiff then discuss-
ed what was goingan.Plaintiff explained briefly the situation and the
ongoing civil dispute, between the owner and I, and that his fellow
officer's had informed all parties that this was a civil matter. I
informed officer Bires, that the owner of the Kubota tractor was
trying to be underhanded in that he was not keeping his word and at
that time trying to break our Handshake/Contract and Verbal Agree-
ment. Having a spare key made to the tractor, and sending a person
to attempt to take tractor off the property. Knowing full well the
plaintiff used this tractor to position his travel trailer real close
to the shop and needed this tractor to pull trailer out far enough, as
to hook it up to the hitch on my truck when we were ready to leave the
property.

16. I went on to explain to officer Bires, that the man that came
to try and load tractor on his flat-bed trailer, assaulted plaintiff,
by grabbing onto his forearm, when plaintiff was trying to retrieve
the key and shut down the tractor. That plaintiff warned this person
not to touch him as he reached into the cab to do so. And that after
this person latched onto plaintiff's arm, plaintiff then pulled away
real quick, then with his left hand plaintiff planted this person in-
to the tractor seat at chest level pinning him and reached with his

right hand grabbed the key, shutting down tractor and removing key.

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17. Plaintiff had gone over said issue with officer Bires, which
only took a few minutes to explain. Then officer Bires said, I'll be
right back, I am going to speak with the owner of this property and
the tractor inside his home. My wife and I, responded that's fine, we
will be in the trailer grabbing our coffee's. Officer Bires, then went
and talked to the owner.

18. It was about 8:30am by then, my wife and I went into our home,
"Travel Trailer" to warm up our coffee's. Officer Bires, was not even
in this gentleman's house no longer then one minute. He then banged on
the back of our trailer real hard. It was so loud it startled my wife
and I, and my service dog (Lady) then started barking. Plaintiff then
went to the screen door, where the dog was. Plaintiff then grabbed his
dog by the collar to hold on to her, before he opened the screen door.
At that point, plaintiff just stuck his head out the door, holding the
screen door with one hand and his dog with the other. He started to in-
form officer Bires, that we would be right out, that my wife was...
That's all plaintiff spoke, before officer Bires pulled out his service
weapon, and pointed it at plaintiff's head, screaming at him, show me
your other hand right now, I then told my wife to grab the dog, that
this officer was pointing his gun at my head. By the time my wife was
able to grab onto Lady's collar, officers Bires screaming even louder,
show me you F------ H--- now!!!

19. Plaintiff, then responded very calmly, easy, easy, I'm bring-
ing my other hand out right now real slowly. My wife had hold of Lady-
bug, by then and I slowly brought my hand out to show this officer,.
that I had nothing in my hand, I then even stepped down one stair ex-

posing my whole body for him to see that I had no weapons on me...

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19. Cont... Officer Bires at that time, continued pointing his
gun at this plaintiff's head, threatening him, trying to intimidate
this plaintiff. Officer Bires continued yelling at plaintiff with a
real angry, aggressive voice, telling this plaintiff to give him the
tractor key, Plaintiff responded, NO, I will not give you the key, I
already explained to you that this was a civil matter. Officer Bires,
then started screaming louder telling this plaintiff, that if you...
don't give me that key, I will come into your home, I will get that
key, and then I will arrest you for theft and assault. Officer Bires,
still had his gun pointed at plaintiff, while making above threat.

20. At that point, this plaintiff became very angery, started
yelling at this officer, asking him what his problem was. Plaintiff
then stepped down to the ground, facing this officer, who was about
fifteen (15) feet away at the back of plaintiff's travel trailer.
Plaintiff, looking right into Officer Bires eye's and his gun,barrel,
again said "NO" I will not give you the key, followed with... Do you
think your gun scares me? Plaintiff then took his right index finger
and placed it onto the middle of his forehead pointing, and at the
same time, yelling take your best shot, F--- Y--, I will not give you
the key, I told you this is a civil matter.

21. Officer Bires then realizing that I was not going to turn
the key over to him, placed his weapon back into his holster. He then
turned and started walking away, yelling back at this plaintiff, that
he would be back. Plaintiff responded with great, until then go kick
some rocks. At this point, this plaintiff was beyond angry, he was
livid, he was seeing red, his common sense and mental capacity to
see right from wrong was severely diminished. I turned and started to

go back up the stairs of our travel trailer, when I looked down to...

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21. Cont... the right and saw the five gallon can of gas sitting
on the ground, I then picked it up and brought into the trailer with
me. As I stated above, I was not thinking correctly at all at that
point and time.

22. Plaintiff was not even back in the trailer more then one
minute, when he heard his name being called out. Plaintiff, and his
wife were very upset at this point. Plaintiff then went to the door
to see who it was that was calling his name. He opened the screen
door a crack, and stuck his head out to see who it was, and what they
wanted. It was Officer Bart Tokas. Officer Tokas, could see that I
was extremely upset at what had just transpired. I stated to Officer
Tokas, did you not tell my wife and I this was a civil issue. He then
replied yes I did, the last time I was out here a few weeks ago. He
then followed this statement up with, I just arrived, I don't know
what transpired between you and Officer Bires, other then you refused
to relinquish the tractor key, I replied well I don't appreciate the
fact that I was threatened with a gun pointed at my head for no rea-
son. Officer Tokas then replied, look Jeff, you need to calm down and
turn over the tractor key to me. I then became more upset at this re-
ply, and said no, you told me this was a civil matter, which it is.

23. At this point Officer Tokas started to say... But I inter-
rupted him and said look this is a civil issue, you instructed and
informed, all parties to file of civil complaint on this issue. If
Officer Bires wants to issue me a summons on what transpired today
that's no problem, and if the Judge orders me to return this key to
the owner I will do so. Officer Tokas then replied, that's not how
it works, you need to hand over the key or you will be arrested. I,

again became extremely insensitive at what was going on, and again...

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23. Cont... became extremely livid at what was just spoken to
me by Officer Tokas, again being threatened with arrest. This: is
when I picked up the gas can, that I had placed on the floor near
the door. I then showed this gas can to Officer Tokas, saying I've
told you, I'm not giving you the tractor key, and if you all try
to come into my home and attempt taking it by force, I will use this
to stop you. After stating this Officer Tokas replied, look you don't
want to do this, all your going to accomplish is a police standoff,
and it will not turn out good for you. At that point I just slammed
the door. This ineptitude behavior from both these officer's and
this plaintiff, resulted in a police standoff for the next twenty (20)
hours, ending with this plaintiff being shot in the head/face by a
Maine State Tactical Police Officer, who's name was Scott Duff.

24. On June 1, 2014 at about 4:20am... This plaintiff was unlaw-
fully shot in the head, by Maine State Trooper Scott Duff. Both the
plaintiff and his wife were placed into a very dangerous, perilous and
risky life threatening situation, by State of Maine law enforcement...
officer's. Plaintiff and his wife were both threatened and attacked
during the twenty hours. We were assaulted and attacked by numerous
law enforcement officer's while in the confines of our home, without
showing any provocation toward these officer's until after they shot
into our trailer, threw rocks at trailer, tried breaking window with
a robot, and finally used an armored vehicle to penetrate and push
our trailer. It was only after these attacks did plaintiff retaliate.

25. This plaintiff yelled outside his window, several times dur-
ing this standoff, that he did not want anyone to be harmed or hurt.
There were numerous mitigating factors as to why this occurred, and

this plaintiff firmly believes that this whole incident could have...

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25. Cont... been avoided and defused by those individuals whom
were in supervisory positions, along with those whom were in command,
could have brought this whole incident to a peaceful conclusion. Yet,
this in not what they wanted to happen. Instead they allowed several
of their officer's to continue instigating the situation, and not al-
lowing cooler heads to prevail. Plaintiff, also relayed and informed,
to those whom were in charge, that this could all end peacefully if
he was allowed to turn over a C/D to the media and make a statement
to a reporter, as to why this was all happening. Plaintiff was flat
out denied this simple request, as to bring situation to a proper and-
safe conclusion. As such, those whom were in authority that day, (The
defendants mentioned above in this complaint) should be held account-
able for their subordinates actions, and for their serious lack of
discretion, to allow this situation to progress to the point it did,
which was very dangerous for all in concern, and ending with grave
harm to this plaintiff. This plaintiff, has taken responsibility for
his action, has been incarcerated for over two years now, and suffers
with severe ongoing pain, both physical and emotional, that he will
most likely deal with for the rest of his life, do to being shot in
the head unnecessarily and unlawfully with malicious intent.

26. Now this plaintiff is seeking redress from this Honorable
Court, in the venue of this civil complaint, requesting that this
Honorable Court, administer justice to those defendants, whom have
been completely dishonest in regards to how this incident concluded
with this plaintiff being shot in the head, severely wounding him.
Plaintiff, firmly believes that those whom were in authority, along
with their subordinates, need to be held accountable for their act-

ions, and their perceptions, that they are above the law. So this...

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26. Cont... kind of situation, or incident will not be repeated
allowing others to be fatally wounded as I was. Again this plaintiff,
humbly seeks redress from this Honorable Court in this civil action.

27. After spending thirteen (13) days in an induced coma, and
eighteen (18) days in the Intensive Care Unit at Eastern Maine Medical
Center, this plaintiff was released from the hospital under false pre-
tenses. Before he could seek further medical care as instructed by the
surgeons and doctors in charge of his care,(that this plaintiff should
seek, without delay down in Portland, Maine at Maine Medical Center or
down in Boston, because all the surgeries that were performed up to
that point were life sustaining only, and what needed to be done now,
was beyond the expertise of these doctors, as to the continued recon-
struction of plaintiff's jaw, eye and face after being shot in head.)
this plaintiff was detained by Bangor Police, (It appeared that someone
had called them) before even leaving the hospital. Plaintiff was then
taken to Penobscot County Jail, where he was then picked up by Hancock
County Jail corrections officer, who then transported him to Hancock
County Jail, where plaintiff was informed that the United States Mar-
shal's office and the Federal Government had placed a hold on me and
I was being detained. This was on June 18, 2014. On or about July 27,
2014... this plaintiff was transferred again to Somerset County Jail
because of his medical condition and multiple medical issues after
being shot in the head on June 1, 2014... plaintiff is a amputee as
well, and had been having problems with his prosthesis before being
shot, and his prosthetic limb was also damaged during said incident,
and now needed extensive repairs, with a knew fiber glass socket being
made which would cost $6,000.00 dollars to replace. Plaintiff was exp-

erienceing severe pain, from the cumulative ulcers on his stump.

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28. Plaintiff had started the process of having his prosthesis
repaired two weeks before being shot. As stated above prosthesis was
damaged further during the police standoff. Plaintiff's wife retrie-
ved his prosthetic limb from our home and gave it to my clinician at
Central Maine Orthodics. Plaintiff's clinician repaired my prosthesis
as best as he could, and brought it to the hospital for me. He then
explained that he did the best he could to manipulate and repair the
socket, and told me to wear it, in conjunction with using my walker,
and if I had any problems, contact him for an appointment. Within a
few days, while at Hancock County Jail, I started getting real pain-
ful cumulative ulcers. I then asked for an appointment to be set up
with my outside clinician, this was scheduled, but the jail and or
marshal's did not take me to the appointment. This was around middle
of July 2014... when speaking with my wife on the phone that week, I
was informed by her that my clinician was not to happy, because the
appointment that was made, was made for the Bangor office, and he had
set this time aside just for me and traveled all the way to Bangor,
from his Portland office that day. The central office is in Waterville,
were he normally works out of, but on that day he was down at their
Portland office in the morning and had my special appointment for in
the afternoon, and no one called him to cancel this appointment.

29. After plaintiff's transfer to Somerset County Jail, another
appointment was set, I made it to that one. After that I went back to
my clinician in the Waterville office, three (3) times before he fin-
ally recommended a new socket to be made this was in January 2015. At
that time, I asked him why he did not recommend this sooner. He said;
I was informed that a new socket would not be paid for by this jail.

This plaintiff, then asked his clinician to take a casting of his...

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29. Cont... stump, which he did. This plaintiff then explained
to his clinician that he would seek approval from the Marshal's and
he would have a new appointment set up after this socket was approved
to be made. Plaintiff then returned to the jail, where he submited a
medical slip to find out what was going on. Plaintiff was informed at
that time, that the Feds would not pay for my socket to be made. Both
the Assistant Health Administrator of Somerset County Jail and the
owner of MED-PRO Terry Thurlow, as well as, the P.A. Greg Ellis in-
formed plaintiff of this. Plaintiff then asked if this was in writing
he was told it was not. Plaintiff, then filed level one (1) grievance
on this issue. He was then informed that we were waiting for approval
for the socket from the Marshal's office.

30. Plaintiffs ulcers started to get real painful and he then at
that time filed another level one (1) grievance on getting a wheel-
chair or the walker he came into the jail with, that he needed this
so he could remove his prosthesis to allow his sores to heal. This
was around February 2015. Defendants then denied this, so he submitted
two level two(2) grievances on above issue. He was then informed by
the Compliance Manager, Sean Maguire, that we were still waiting for
approval from the feds. But he still denied me to have a wheelchair
or walker in my cell to allow me to take off my prosthetic limb, to
allow my sores to heal, and allowing the mobility I needed. At one
point, I was told to hop around by C.M., Capt. Maguire. He said I
was not getting my walker or a wheelchair. This was in writing.

31. Then about mid February 2015... plaintiff was informed that

prosthetic socket was not approved by the Marshal's office. This was

given to me on a Memo from C.M. Maguire, along with these options...

#1. I could continue wearing my prosthetic limb. #2. Or I could have...

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31. Cont... wheelchair or an aluminum walker out side my cell.
But I would have to place my prosthesis on my property for it to be
held until such a time the socket could be fixed. I chose number one.
I said to myself, I will get my court appointed attorney to help me
with this. Which I had already sent out a letter on this issue to my
counselor Mr. Jeffrey Silverstien. I tried to keep my prosthesis off
as much as possible, but that did not help, the ulcers only became
worse and very much more painful.

32. Plaintiff tried and tried to have his appointed counsel help
him with this issue, which he refused to do. I sent Mr. Silverstein,
numerous letter's from middle of 2014 through 2015. When I could see
that he was not going to help me. I asked this court for a new attorn-
ey, and I was appointed Bruce Merrill. Even Mr. Merrill refused to get
the help I needed with my prosthesis, and I still have not received it.
I've tried to get the proper medical care on this issue for over two
years now, and have received nothing but delays.

33. This plaintiff kept trying to request a wheelchair or his
walker in his cell, and kept getting refused. Then I started stating
to jail staff, that if my sores on my leg got infected, and my MRSA
kicked in, I would not let them take anymore of my leg. Still I was
refused the tools I needed to allow me to takeoff my prosthesis and
to allow my sores to heal, and then use walker or wheelchair in con-
junction with my prosthesis, after the sores healed so atrophy would
not affect my muscles in my thigh. This plaintiff now has serious, no
very serious atrophy, painful muscle spasms-and cramps, he has severe
back and hip pain, and still nas" received the proper medical care on
issue, as of the date of this motion July 2016.

34. On or about March 26, 2015... Plaintiff was attacked by five
corrections officers, in reference to taking plaintiff's prosthetic.---

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34. Cont... limb by force. Plaintiff can only identify two of
the five officers at this time. C/O Eric Jacques and C/O Jacob Roy,
As well as, the shift leader Sgt. Dawn Pullen. Others who were in-
volved in this were P.A. Greg Ellis, M/H. Counselor Dave Needham,
and compliance manager Capt. Sean Maguire. Capt. Maguire was the
person in charge of situation. The C.E.R.T., team of five officer's
came into my cell shielded me up against back wall in the cell, I
was then slammed to the floor, and my prosthetic limb was ripped
off my stump. And the same time they took my orthopedic shoe, and
stripped all my clothes of me. They then took all my belongings out
of my self, legal work, hygiene supplies, blankets and sheets. I was
given a security smock only, withno security blanket. It was freez-
ing cold. There was five to six feet of snow on the outer wall of my
cell, I asked C/O Charles Haley over and over for a blanket for two
hours, this officer would not give me a security blanket to help me
stop shivering. I became so distraught that I climbed up onto the
shelf that was 59" off the ground and dropped right on my head. My
prosthesis was taken unlawfully. I was trying to get the help that I
needed for several months, and was refused the proper medical care.

35. On or about March 12, 2015... I was physically assaulted by
officer Charles Haley. This officer pulled my arm through the cuff
board and injured my left forearm cutting/open. This was done because
this officer was retaliating against me for writing a grievance on
him for threatening me with pepper spray, throwing a chair across the
room trying to intimidate me. This officer also dumped my lunch on my
cuff board with no napkin exposing the open food to the dirty metal.
He then slammed the cuff board and my food went all over the floor in

my cell. I filed grievances on this officer, he then assaulted me.

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36. This plaintiff has been verbally assaulted and belittled

on numerous occasions, as well as, his disability being made fun

of. Plaintiff has been exposed to the the following derogatory

statements, ridicule and emotional abuse, that is still ongoing,

since his arrival back in July 2014... Plaintiff has most if not

all dates and times of this abuse, he has also filed and exhausted

all his administrative remedies on most if not all misconduct of

said officer's. The following comments and actions were perpetrated

upon this plaintiff in the past two years... c/O Charles Haley said

these comments to this plaintiff. "Your just a jerk", " Your a real

A-- H----", "You just think your so special", this was said in a very

condescending and derogatory manner. Then this officer went around to

several other corrections officer's and had them start saying this all
[the]time, over and over, "Your Special "," Your just so special" Infact it

is still happening on occasion now. This officer, I believe also spit

in my sandwich, I wrote this up but nothing was done. I tried to have

a supervisor come down to look at the sandwich, but this officer re-

fused to call a supervisor. C/O Gerald Madore, blurted out comments

such as "Your just a loser", "You sure are a f------ A------ ." or

"you don't even deserve the air we breath in here" and " Your no...

better then these child molesters we have in here", or"Hurry up kimp",

"Lets go stumpy" and "You don't have a leg to stand on anymore do ya".

This officer also brought me my food tray into my cell, and as he was

sitting it down on the bunk, he made a fart sound with his mouth, he

had stuck his tongue out between his lips, and made this farting sound

and his saliva sprayed all over my food. I asked to speak to supervisor

in charge that day, and asked for a new meal, and was denied both. This

officer dose this to everyone, he downgrades inmates all the time.

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36. Cont... This last comment was directed toward me, after I
respectfully requested to call my wife for two days, she was going
through an 84 hour surgery on her legs, because of blood clots. I
asked several times dealing with two different shift leaders. I had
even put it in written form through inmate request procedure. What I
received was this comment from C/O Mike rizzo, " Your not getting a
call to your wife, she's probably dead already anyway." I will con-
clude with this, I've been threatened to be killed and beat up by
three separate corrections officer's, two of these officer's are no
longer working here, one still is, can I prove this? Yes I can if
the ones who made these threats when confronted were honest, but I
will not hold my breath.

V. Misuse of Force and Deadly/Lethal Force

37. On or about June 1, 2014... this plaintiff suffered a fatal
injury, when he was shot in the head by Maine State Law Enforement.
Plaintiff firmly believes, this was unjust and unlawful, as to how
it went down. This was, and had been a civil issue for several weeks
prior to plaintiff being shot in the head. This was well documented
in police reports, and 911 was called and dispatched Ellsworth, P.D.,
to a ongoing civil dispute. Plaintiff contends that most if not all
parties knew in advance that this was a civil matter, yet the resp-
onding officer that day turned the situation into a criminal matter
on purpose, well knowing plaintiff's back ground and record. Plaintiff,
further contends, that those whom were in supervisory positions at the
scene that day, allowed things to get out of hand, and even instigated
the whole situation in their actions toward this plaintiff and his wife.
Plaintiff firmly believes there was a conspiracy going on behind the

scene, and long before the day he was shot in the head. Furthermore...

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37. Cont... Plaintiff also alleges that this conspiracy went
very high up in the ranks of law enforcement as well as, other...
governmental agencies, and this plaintiff has some proof that may
in effect prove this allegation. As such, plaintiff firmly believes
that all individuals mentioned above in reference to plaintiff being
shot in the head, should be held accountable in their individual, as
well as, professional capacities. Defendants are as follows...

State of Maine, Attorney General Janett Mills: Maine State Police,
Colonel Robert Williams, Trooper Scott Duff: City of Ellsworth, City
Manager John Doe: Ellsworth Police Department, Chief of Police John
Doe, Lieutenant Harold Page, officer's Troy Bires and Barton Tokas:
Hancock County Sheriff John Doe, Deputies Frost and Campbell: City
of Bangor, Manager John Doe: Bangor Police Department, Sergant Rob
Angelo. And any other individual that is employed by above agencies,
that may be found out or exposed during the investigation of this
case.

38. On or about, March 12, 2015... this plaintiff was assaulted
by correctional officer Charles Haley, he maliciously and intention-
ally pulled and yanked this plaintiff's arm through the cuff board
of his cell #107 A-Pod. This plaintiff received a deep laceration on
his arm that required medical attention. Plaintiff received medical
attention a photo was taken and medical report completed. Plaintiff
did nothing to deserve this, and followed orders as given. Officer
Haley, told this plaintiff to put his arms out on the cuff board, I
followed these instructions, C/O Haley then took of my right hand-
cuff, and instructed me to place my right hand on top of my head. I
complied, C/O Haley, then yanked my left arm real hard, while I was

still cuffed. He twisted my wrist, then pulled my arm out with so...

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38. Cont... much force, my arm hit top of the cuff board that
caused a deep cut on the inside of my forearm, right where the bend
of the elbow is located. Officer Haley, did this with deliberate in-
ent and in retaliation to this plaintiff filing several grievances
in regards to this officers misconduct, in that he tried to intimidate
this plaintiff by throwing a chair across the room, then he threatened
to spray pepper spray into plaintiff's face, this was over a shower
chair issue, and the fact I was and had been allowed two chairs to sit
on do to my disability, in that I am a amputee. In another incident as
to this officer, C/O Haley took my food and dumped it on the:cuff boards
metal grate, with no napkin exposing the food to a dirty surface, then
he slammed the cuff board send my food all over my cell. As I stated
above this officer assaulted me in retaliation to my grievances against
him, furthermore there was another C/O that witnessed this assault and
did nothing to intervene. Her name was Margerett Kelly.

39. On or about March 26, 2015... this plaintiff was attacked by
five officer's. A C.E.R.T. team was sent into my cell, I was shielded
to the ground and my prosthetic limb was ripped off my stump. There are
many other issues with abuse from staff members... One example is that
this plaintiff had just had eye surgery, he was brought back that same
day and was put into his cell. Plaintiffs head was pounding so bad, he
placed it under the covers. Then C/O Nicholas Rotondi, grabbed this
plaintiff blanket ripping it off plaintiffs body, at the same time my
bandages on my eye were ripped off my eye as well. This officer knew
that this plaintiff had just had eye surgery just a few hours before.
There are many other incidents of abuse and harassment and dishonesty

towardnot only this plaintiff, but many other inmates at this facility.

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39. Cont... Plaintiff will not mention every incident that has
transpired in this facility in just over two years between himself
and jail staff, and how plaintiff is instigated, harassed, and made
fun of, or the outright dishonesty of jail staff, and their tactics
toward inmates, how they belittle, ridicule and degrade inmates, to
get them to misbehave, and then punish them. I just would like this
Honorable Court to be aware of these facts and that this plaintiff
would only be using this evidence to prove his case during litigation
or trial. All reasons above, as to this jail and the medical issues
I will mention below as to the misconduct of contracted medical staff
employed by MED-PRO & Associates and this jail staff's misconduct has
been brought to the attention of the jail administrator and sheriff in
numerous in house Memos and E-Mails. This plaintiff has many of these
memos, as such, plaintiff firmly believes that all individuals mention-
ed above and below, as it pertains to this jail facility, should be
held accountable in their individual, as well as, their official capa-
cities. These individuals are as follows... Somerset County Sheriff,
Dale Lancaster, Jail Administrator, Corey Swope, A.J.A. Captain Sean
Maguire, Health Service Administrator,Terry Thurlow, Sgt, Dawn Pullen,
correctional officer's, Gerald Madore, Charles Haley, Mike Rizzo, Jacob
Roy, Eric Jacques. And again, any other individual that may be brought
up or out, during any investigation that may occur, in regards to this
case.

VI. Denial of Due Process

40. This plaintiff was placed into administrative segregation
over two years ago, back in September 2014. Due to his medical and
mental health conditions. After his prosthesis was taken by force

back in March 2015. The classification review board has denied...

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40. Cont... this plaintiff the right to be released from being
on administrative segregation, because this plaintiff has restrict-
ions. Yet the only restriction this plaintiff has is medical, which
deals with his prosthetic limb, that was unlawfully taken by force
through dishonest means without any medical justification. Plaintiff
has appealed this unlawful action on two separate occasions to the
Jail Administator, and still, plaintiff has been denied to be taken
out of solitary confinement, and out of a cell that is monitored by
camera 24-7. The cell that this plaintiff is in at this time has no
desk, table, chair,or shelve with hooks to hang your wet towels and
wash cloth on. This cell AH-116 is not handi-cap accessible, which
makes it very difficult for this plaintiff's disability, in that I
must lean on the walls without supporting rails for balance, which
is very hard on my hip and lower back. The AD-SEG classification
committee meets once a month, and this plaintiff sees mental health
before every meeting. Plaintiff was told over seven months ago that
he has been cleared, yet at my last hearing July 2016, I was informed
that I still had not been cleared by mental health for general popu-
lation, and even if I had been I would still remain on administrative
segregation because I have restrictions, which the only restriction
I have is not having my prosthetic limb. This plaintiff's disibility
is being used to keep him in AD-SEG, this is serious discrimination
against plaintiff's disability. Another good example of this ongoing
Giscrimination upon this plaintiff would be the fact that He had to
go nineteen (19) days without a shower in order to receive a proper
shower chair, so plaintiff could take a shower, without being injur-
ed by slipping. Plaintiff, respectfully requested this shower chair

in writing for about eight (8) months before he received one, but...

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40. Cont... only after a new mental health counselor requested
from this jail administration for me to receive a proper shower chair.
This plaintiff, tried every avenue he could to get help for his dis-
ability issues, as to being an amputee. He filed all proper paperwork
both medical, as well.as, administrative remedies, he even ask both of
his court appointed attorney's to assist him with injunctive relief as
to his walker, or a wheelchair to assist his disability with proper
mobility tools, he was denied this proper help from all parties. Inst-
ead what plaintiff received was different forms of harassment, in the
form of excessive cell searches trashing his cell, going through his
legal work out of plaintiff's presence, when he went to doctors app-
ointments, and confiscating his legal work and holding for weeks at a
time, without sealing it in plaintiff's presence before removing it
from plaintiff possession. Plaintiff was also subjected to serious
verbal abuse, teasing and making fun of his disability, with comments
from officer's such as this... "You don't have a leg to stand on any-
more, do ya" after plaintiff's prosthetic limb was taken unlawfully
from him. Plaintiff, responded to this comment with "Look I don't
have a wheelchair to roll around in now do I" as plaintiff then pic-
ked up wheelchair and through to the ground breaking it. Plaintiff's
Due Process Rights have been severely violated, not only with his
AD-SEG situation, but this plaintiff was not allowed to call witness-
es at several of his disciplinary hearings, as to allow him the right
to question those officer's who wrote him up, or witnesses that would
testify on plaintiff's behalf. He was told by two different D/Os that
this was the jails policy.

VII. Exhaustion of Administrative Remedies
41. Plaintiff has exhausted his administrative remedies with re-

spect to all claims and defendants...

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VIII. Denial and Delay of Proper Medical Care

42. Plaintiff arrived at this facility in July 2014. He was
transferred to Somerset County Jail, because of his medical condi-
tion from being shot in the head/face and his disability, being
that he is an amputee, and he needed his prosthetic limb fixed.

43. Plaintiff's medical care has been out right denied, and or
delayed to such an extent, that he has suffered unnecessary pain,
and he will now, on information and belief suffer permanent disabil-
ity do to theses excessive delays and denials of proper and prompt
medical care.

44. Plaintiff, came to this facility walking with his prosthesis
and now has been in a wheelchair for over a year, because the Marshal
services would not approve for a new socket to be made. The reason
for this is that it cost $6,000.00 dollars to make this socket.

45. Both the Marshal's and defendants have exasperated plaintiff's
medical condition and have caused this plaintiff severe pain because
they failed to follow the medical orders of plaintiff's clinician at
Central Maine Orthodics.

46. Plaintiff waited over eight months before receiving the rec-
ommended surgery that was needed to protect his eye. On information
and belief, plaintiff will now suffer permanent damage in his left
eye, because of theses delay's.

47. Plaintiff waited over over eighteen (18) months to receive
the needed operation on his jaw, which was just performed this year
in March 2016. That was the first phase, recommended by Dr. Oreadi,
down in Boston, at Tuft's University and Medical Hospital. The Health

Service Administrator from this jail and the owner of MED-PRO and...

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47. Cont... Associates, Terry Thurlow, caused this plaintiff
serious pain and discomfort, when he interfered with my medical
treatment on the first phase of surgeries to fix my jaw, as it
was recommended by Dr. Oreadi. After a five and a half hour oper-
ation, it was recommended by my doctor to stay in the hospital
over night. Mr. Thurlow called down to the hospital throwing his
title around, which then resulted in me being transported back to
the jail. The transport van did not even make it out of Boston,
before I became deathly ill, and started throwing up blood in the
back of the van. I threw up four separate times so violently that
I tore the muscles on my rib cage. I then sat in my own bloody
vomit for the three and half hour drive back to Somerset County
Jail.

48. Plaintiff submitted a medical slip, as to explain to the
P.A. Greg Ellis, how severe the pain was in his jaw, and that the
medication he was giving was and still is very in affective with
dealing with my jaw pain. Mr. Ellis then replied to this with, that's
what happens when you get shot in the head.

49. Now that plaintiff, has been over a year without his Pros-
thetic limb, he's now suffering with a severe case of atrophy. His
thigh muscle and stump have lost so much mass it will now require two
sockets to be made, and four to six months to rebuild my muscles. It
will be very painful, as it stands now, plaintiff is dealing with...
severe muscle cramps and spasms that are very painful.

50. This plaintiff's medication has been wrong when given to
him at medication pass, around seven or eight times. Plaintiff was
flat out denied his medication at least five times by Nurse Lisa Cates.

Plaintiff, was never given his afternoon medication when at court...

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50. Cont... At one med-pass, plaintiff did not catch that he
was given medication that was not his, this caused plaintiff to be-
come very ill, and plaintiff then fell asleep. When he woke up the
next day he was still very groggy for the whole day. Plaintiff then
informed medical staff, he was told that if your not dead, you will
be fine. Plaintiff believes this nurses name was Laurie V. She no
longer works here. This was mentioned in plaintiff's medical file.

51. The P.A. Greg Ellis, kept stalling me to get my Jaw fixed,
sending me, or trying to send me to a regular dentist to have some
bad teeth pulled. When he finally realized that I needed a specialist
because, I told him I did from the start, and refused to waste time
going to regular dentist. He sent me to a specialist that attempted
to pull my five bad teeth with novocain,only,which was not going to
happen. This doctor, then wrote a report and recommended that Tuft's
down in Boston, would be able to pull my teeth and fix my jaw at the
same time. Because P.A. Greg Ellis, would not listen to a referral of
Dr. Kahn, the specialist that did the operation on my eye, and because
P. A. Ellis, refused to refer plaintiff to the specialist he recommend-
ed, this plaintiff, suffered with excruciating pain in his jaw for way
longer then necessary.

52. P.A. Greg Ellis, kept saying things to plaintiff, like... You
know how we play the game, you submit numerous medical slips, complai-
ning of pain and that you think you have an infection in your jaw or
mouth, then I prescribe anti-biotics to satisfy you. Or P.A Ellis said,
this on several visits, I don't think your in pain, your just seeking
narcotics. This plaintiff kept on submitting inmate medical slips and
filed grievances on this P.A., yet he continued stalling my needed med-

ical care in many different ways, like let's get your eye operation...

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52. Cont... completed and your prosthesis issue worked out,
then we will work on your jaw issue. I asked him why we needed to
wait until these things were completed, that I was in severe pain
in my jaw. P.A. Ellis, replied because that's the way we do things.
P.A. Ellis, was always sarcastic and condemning this plaintiff.

53. This plaintiff has been requesting to be seen by mental
health and to work with this plaintiff, on severe pain issues, which
cause anger issues, he asked to have steady counseling and was told
there was not enough mental health staff.

54. When plaintiff first arrived at this facility back in July
2014, the medical department knew how serious plaintiff's medical
conditions were, yet, H.S.A., Terry Thurlow, P.A. Ellis and this
administration to this jail, did all they could to stall and delay
or [rightxout] deny, this plaintiff the proper, prompt medical care
that he needed the whole time leaving this plaintiff in great pain.

55. Infact this plaintiff had another appointment set up with
Dr. Oreadi, down in Boston, at Tuft's this week. July 19, 2016. It
was set for 9:00am. Plaintiff was brought out to booking/intake at
4:30am. the transport officer did not get to the jail until around
5:00am. Plaintiff's, breakfast was not ready, plaintiff lunch was
not made up, and plaintiff's medication was not ready. At about this
time the transport officer Deputy Travis Andrews, said we need to
get going. I asked him if he was given my medication, he said no. He
then said you have a chose, we can leave now, and you can eat some
of your lunch on the way down,"which was not even made up yet" or you
can stay here. This plaintiff then said, he was not going all day long
without out his pain medication, and that he would like to have break-

fast before he left. Plaintiff then asked this Deputy what time his...

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55. Cont... appointment was? Deputy Andrews, replied when we get
there. I then requested to be taken back to my cell to lay down, until
the medical staff arrived at 6:00am to give me my medication. At about
6:05am, corrections officer Hanson, came to my cell, and said are you
ready to try this again. I said yes, and plaintiff was then escorted
back down to intake/booking where he was given his morning medication
by Nurse Brian Hunter. Plaintiff, then still had to wait for his lunch
and breakfast, which was given to him around 6:15am. This plaintiff,
then ate his breakfast real fast, and we were on the road heading to
my appointment in Boston by 6;25am. Before we arrived at interstate 95,
Deputy Andrews had to stop to fill up with gas. This took another ten
minutes, by the time he filled up and obtained his coffee. It was now
around 6:50am. I then again asked Deputy Andrews, what time my appoint-
ment was set for. He then replied 9:00am. I replied we will never make
it to my appointment on time with morning traffic. I was then told not
to worry about it. We made it to the Boarder of Vermont/Mass. before
receiving a call from the jail to turn around, that my appointment was
canceled, because we were late, we then turned around and headed back
to the jail. We were on the road for 5 hours for nothing. What was very
upsetting, is that this had happened before, and we ended up being late
by 25 minutes, yet this doctor, still allowed me to be seen. This jail
also dropped the ball on another doctors appointment that they forgot
to take me to, and this appointment needed to be rescheduled. This jail
is fully aware that it takes 34 hours minimum to reach Boston and that
is if there is no traffic. Then finding parking spot, and getting up
to the fith floor, all takes another 15-20 minutes. So even if we left
the jail at 5:00am. we would not have made my appointment at 9:00am.

56. When we arrived back at the jail, this plaintiff, asked...

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56. Cont... if his appointment was going to be rescheduled, he
was told to fill out another medical slip. Plaintiff, did this and
filed a level one grievance with the administration on this issue.
The next day, plaintiff was informed that his appointment would not
be rescheduled at this time. The answer he received was that, this
plaintiff, had the chose to leave and get to this appointment on-
time. Yet, I chose to wait around for my medication. Indicating that
this was my fault. This was from nurse shelia, in writing responding
to my medical slip. Plaintiff, was also told by Capt. Maguire that,
the Feds now needed to approve another appointment. I then spoke to
compliance manager Teshia Cates, whom I submitted my level one griev-
ance to. I asked her why we needed to wait for the Feds to approve
something that has already been proved? That this was what was told
me by Capt. Maguire. Ms. Cates, replied with, that's a good question.
I will find out and inform you in writing on your level one grievance
you submitted to me. This was just yesterday, July 21, 2016. I still
have not received response. Then today, I again tried speaking with
capt. Maguire, asking him this same question? He said nothing, turned
and walked away. It appeared he was not in a good mood. Plaintiff has,
and is in great pain, he has been denied and has had to endure very
long delays to receive proper medical care. He was told on several
occasions, by P.A. Ellis, Nurse Lisa Cates, H.S.A. Terry thurlow and
Capt. Sean Maguire, that I would receive the proper medical care when
I get to the Federal Bureau of Prisons. These defendants, including
the United States Marshal's Service, delayed and denied this plaint-
iff's medical attention intentionally, they allowed this plaintiff,
and still are, to suffer with excruciating pain. This plaintiff, was

a pretrial inmate, and he was considered guilty by above defendants...

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56. Cont... and the Marshal's Service, just by their comments
about plaintiff being convicted and going into the F.B.0.P. This
plaintiff was and still is suffering from extreme acute, as well as,
severe chronic pain, he should not havefwait and suffer while his
criminal case was being litigated. Plaintiff seeks the following...

IX. Claims for Relief

57. The actions, or lack there of, by defendants mentioned in
this amended complaint, in using excessive force and deadly force
against this plaintiff, without need or provocation, or in failing
to intervene to prevent the misuse of force, were done maliciously,
sadistically, intentionally, and in retaliation, which was and still
is being perpetrated upon this plaintiff, constitutes cruel and un-
usual punishment in violation of the Fourth and Eighth amendment of
the United States Constitution.

58. The actions of defendants mentioned above in this amended
complaint, in using excessive physical force against ths plaintiff
without need or provocation constituted the tort of assault and
battery under the laws of the State of Maine.

59. The failure of defendants mentioned above in this amended
complaint, to intervene or to take disciplinary action, and or pro-
per training of their subordinates, to curb improper behavior and
known patterns of verbal, physical abuse, or the lack of proper
training, toward this plaintiff in relation to this case, other in-
Mates, or citizens at large, contributed to and proximately caused
the above-described violation of Fourth and Eighth Amendment rights,
as well as, assault and battery under tort laws.

60. The actions of above mentioned defendants in this amended

complaint in keeping plaintiff in administrative segregation do to...

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60. Cont... his medical condition, his appeals being denied,
and his right to call witnesses to disciplinary hearings, and the
adverse affect this has had on plaintiff's incarceration, denies
plaintiff, Due Process of Law in violation of the Fourteenth Amen-
dment to the United States Constitution.

61. The failure of defendants mentioned above in this amended
complaint, to provide proper medical care, without long delays and
out right denial of prescribed and recommended medical care by the
plaintiff's doctors and clinician for his prosthetic limb, and the
intentional interference of plaintiffs medical care, constitutes
deliberate indifference to the plaintiff's serious medical needs,
which is a direct violation of the Eighth Amendment to the United
States Constitution, as to cruel and unusual punishment.

62. The failure of defendants mentioned above in this amended
complaint to follow the prescribed recommendations of plaintiff's
doctor's and prosthesis clinician, as to replace his socket and
not to interfere with his medical treatment, constitutes the tort
of negligence under State of Maine tort laws.

X. Relief Requested
WHEREFORE, plaintiff respectfully requests that this Honorable...
Court grant the following relief...
A. Issue a declaratory judgment that:

1. The physical and emotional abuse of the plaintiff, by def-
endants mentioned above in this amended complaint, violated this
plaintiff's rights to be free from excessive force and cruel and
unusual punishment under the Fourth and Eighth Amendments to the
United States Constitution, as well as, constituted an assault and

battery under State of Maine Tort law.

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A. Cont...

2. That those defendants mentioned above in this amended com-
plaint that were supervisory or administrative authority be held
responsible for their failurtproperly train and curb the physical
abuse of this plaintiff and other inmates, which violated plaintiff's
Fourth and Eighth Amendments to the United States Constitution and
constituted an assault and battery under State of Maine tort laws.

3. Defendants and their actions mentioned above in this amended
complaint in conducting plaintiff's administrative segregation issues
and his rights to uphold in the appeals process, as well as his rights
to call witnesses on his behalf at D-Board hearings, and that above
defendants used their positions to sustain and keep plaintiff on AD-SEG
over two years which has violated plaintiff's rights under Due Process
Clause of the Fourteenth Amendment to the United States Constitution.

4. Defendants and their actions mentioned above in this amended
complaint, and or their lack of action in providing adequate medical
care for plaintiff violated, and continues to violate the plaintiff's
rights under the Eighth Amendment to the United States Constitution.
B. Issue an injunction ordering Marshal's, defendants, or their agents tc

1. Immediately arrange for plaintiff's prosthetic socket to be
made, and to follow the instructions of his clinician, as to process,
in allowing two sockets to be made if needed, and to follow all the
physical therapy, orders as well.

2. Immediately arrange for the plaintiff to be seen by an ortho-
pedic surgeon, to address plaintiffs needs, and to evaluate plaintiff
in his present condition, and any medical procedures that may help to
recover, and to access any permanent damage that has occurred, because
plaintiff has been without his prosthetic limb for over a year now.

3. Immediately reschedule missed appointment with Dr. Oreadi, at

Tuft's Hospital in Boston, to allow him to proceed with his recommend-
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B. Cont...

3. Cont... ation and to follow through with the next phase as
is needed to fix plaintiff's jaw, with the proper reconstruction, as
to alleviate plaintiff's acute pain and not allow further damage to
plaintiff's jaw and gums.

4. To have defendants and Marshal's, follow all Dr. Oreadi's
orders, as to any medical treatment, physical Therapy, or medications
prescribed.

5. And, an injunction ordering the Marshal's, or defendants above,
such as Health Service Administrator, Terry Thurlow, Capt. Sean Maguire,
or Mayon; Corey Swope, not to interfere with the orders, recommendations
or medical treatment prescribed by plaintiff's outside healthcare prov-
iders, this would also include P.A. Greg Ellis who works for the jail.
C. Issue an injunction ordering, Sheriff Dale Lancaster, Major Corey
swope, Jail Administrator, or any other defendant mentioned above that
may be involved to,

1. Expunge plaintiff's disciplinary convictions/record, being as
plaintiff's behavior, was a direct result of lack of proper medical
care, long term delay's in proper medical care, and the out-right denial
of proper medical treatment, as well as mental health care. Furthermore,
the down right harassment and misconduct of correctional staff and the
contracted medical staff, exasperated plaintiff's physical and emotional
well being, resulting in plaintaiff's improper behavior. ( Plaintiff in
no way condones his improper behavior, just stating the facts..:)

2. Release plaintiff off administrative segregation, and place him
back into general population with all right and privileges restored.

3. Immediately order an injunction to bring plaintiff's inmate
account down to -0- balance. Because the negative-$9,000.00 plus dollars
were directly a result of improper medical and mental health treatment.

About $7,000.00 plus dollars are for medical bills.
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D. Award compensatory damages in the following amounts:

1. $1,000,000.00/One Million dollars jointly and severally against
defendants, Janett Mills, Robert Williams, Scott Duff, Harold Page,...
Troy Bires, Barton Tokas, Rob Angelo, Deputies Frost & Campbell, and
all three John Does mentioned above in caption. This would also apply
to any other individual that may be brought out, up or forth in the
process of investigation of this case, for the physical and emotional
injuries that were sustained as a result of this plaintiff being shot
in the head/face.

2. $500,000.00/Five Hundred Thousand dollars, jointly and severally,
against defendants, Janett Mills, Terry Thurlow, Greg Ellis, Lisa Cates,
Dale Lancaster, Corey Swope, Sean Maguire, for physical and emotional
injuries resulting from out right denial and long term delay's of, and
failure to provide proper and adequate medical and mental health care
to this plaintiff, without deliberate and unnecessary delay's and denials

3. $100,000.00/One Hundred Thousand dollars, jointly and severally,
against defendants, Janett Mills, Dale Lancaster, Corey Swope, Terry...
Thurlow, Sean Maguire, Greg Ellis, Dave Needham, Dawn :PRullen, Charles...
Haley, Jacob Roy, Eric Jacques, Gerald Madore, and or any other individ-
ual, that may be brought forth in the normal investigation of this case,
as to this plaintiff, being attacked, physically assaulted, verbally...
assaulted, in reference to his disability, as well as, punishments, the
deprivation of liberty and amenities, resulting from plaintiff's medical
condition, which has caused plaintiff, severe emotional damage and in-
juries resulting in, or from loss or denial of plaintiff's Due Process
Rights in connection with plaintiff's administrative segregation and or
disciplinary hearings, as well as plaintiff's appeals processes.

E. Damage demand for segregated confinement reflecting Prison Liti...

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E. Cont... gation Reform Act, (P.L.R.A.), Award compensatory damages
jointly and severally against the following defendants $100,000.00,
One Hundred Thousand and $50,000.00, fifty Thousand dollars respectfully.
1. Defendants, Dale Lancaster, Corey Swope, Sean Maguire, Terry...
Thurlow, Greg Ellis, Lisa Cates, Dave Needham, and or, any other indiv-
idual that might be brought forth, during the normal course of an inves-
tigation that may be started in this case, for the physical and emotional
injuries sustained as a direct result of plaintiff being attacked, along
with physical and verbal assault, as a result of plaintiff's disability.
2. Defendants, Dale Lancater, Corey Swope, Sean Maguire, Darlena...
Bugbee, and all classification staff that serve under Sgt. Bugbee, as to
this plaintiff's punishment, and emotional injury resulting from the on-
going deniel of Due Process, in connection with plaintiff's classificatior
hearings and proceedings, along with disciplinary proceedings over the
past two years, in regards to any disciplinary officers as to those pro-
ceedings, by this demand, plaintiff seeks compensatory damages as stated
above, for loss of privileges, moral degradation, ("Keeping Plaintiff...
Naked for Weeks and even Months at a time".) For quality of life in his
daily prison/jail living conditions, where plaintiff is locked down and
confined to a cell roughly sixty (60) feet square twenty three (23) hours
a day five (5) days a week and twenty four (24) hours two (2) days out of
every seven (7) days, being kept in this solitary confinement, which has
denied plaintiff loss of his limited liberty enjoyed by other inmates in
any kind of social activity such as chess, cards or social engagement of
communication. Plaintiff has also been deprived educational, vocational,
and or religious programs, such as, weekly church services and or Bible
studies that are enjoyed by inmates in general population. Furthermore,
plaintiff dose not get to watch television, and loses recreation out-
doors with other inmates, and a chance to interact with others in social

activities as to maintain, his ability to develop proper social precepts.
(34)
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E. Cont...

2. Cont... As such, plaintiff seeks separately and in addition,
compensatory damages in the amount mentioned above respectfully for
his mental and emotional distress resulting from injuries of being
physically attacked, as well as, physically and verbally injured and
abused. This, along with the prolonged administrative segregation, in
solitary confinement, without Due Process of law to which he is entitled
because this plaintiff was physically assaulted and injuries he sustain-
ed, along with the deprivation of medical care plead herein.

3. Defendants, Dale Lancaster, Corey Swope, Sean Maguire, Greg Ellis,
and Terry Thurlow, for the physical and emotional damage and injuries, thal
were caused and is being caused from their failure to provide adequate
and proper medical care without long term delays, and unjust denials.

F. Award Punitive damages in the following amounts:

1. $50,000.00/Fifty Thousand dollars from all above mentioned def-
endants in caption and complaint, along with any other individuals that
may be brought forth in the course of a normal investigation on this case

G.Grant such other relief as it may appear that plaintiff is entitled to.

Address of... Dated: July 28, 2

Jeffrey P. Barnard Ws YP iS)

131 East Madison Road :
; Sighature of./.
Madison, Maine 04950 Jeffrey P. Bafnard

Pro-Se Counsgl
Note: Please see attached notarization certifying this motion...

Pursuant to 28 U.S.C. §1746, this plaintiff, Jeffrey P. Barnard,
declares under penalty of perjury that the foregoing is true and correct
to the best of his knowledge and belief, unless otherwise stated, as to

matters stated on information and belief, he believes them to be true and

correct. (
Dated: July 28, 2016
(35) . PY
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NOTARY OF PUBLIC
Before me appears, Jeffrey P. Barnard, and makes under oath
that the above attached document/s and or correspondence, and the
statements therein, are true and correct to the best of his know-
ledge on personal belief, unless otherwise stated, as to matters

stated on information and belief, he believes them to be true and

 

   

 

 

 

    
 

correct.
Executed in the State of Maine, this JQ day of C\U \J Ny
under oath, by Jeffrey P. Barnard. % PP
Sighnatukg of: Je ite P. Barnard
* [ Laura T. Lapointe ] *
Notary Pub‘ic, Maine 202 , |
Seal: by Commission Expires: April 10, : CP’ Public (Sishature. .

,/O 1 22—

Commission Exp. Date...

[ ]
Stamp:

cS SS

DECLARATION OF VERIFICATION
PROOF OF SERVICE

The declarant, Jeffrey P. Barnard, dose solemnly swear under
penalty of perjury, that above attached document/s and or corresp-
ondence, were deposited into institutional, and or United States,

U.S., Mail Box, on date indicated below...

 

—* yp vane P. Barnard

Yy 1 2

Dated by: J.P.B., F.
